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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 WSOU INVESTMENTS, LLC, d/b/a                    §
 BRAZOS LICENSING AND                            §
 DEVELOPMENT,                                    §
                                                 §
                       Plaintiff,                §    Civil Case No. 6:20-cv-00572-ADA
                                                 §
               v.                                §    JURY TRIAL DEMANDED
                                                 §
 GOOGLE LLC                                      §
                                                 §
                       Defendant.                §
                                                 §

                                    NOTICE OF APPEARANCE

       Please take notice that Bradley D. Liddle of the law firm CARTER ARNETT PLLC is appearing

as an additional counsel of record for Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and

Development. Mr. Liddle hereby requests that all pleadings, correspondence, materials, and

electronic notices required to be served in the above-entitled and numbered cause be copied to and

served upon him.

 Dated: January 20, 2022                         /s/ Bradley D. Liddle
                                                 Bradley D. Liddle
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NOTICE OF APPEARANCE                                                              PAGE 1 OF 1
